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                UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

BOULEVARD & TRUMBULL
TOWING, INC.,                                     Case No. 17-cv-12446
     Plaintiff,                                  Honorable Sean F. Cox
v.                                   Magistrate Judge Patricia T. Morris
CITY OF DETROIT, CITY OF
DETROIT POLICE DEPARTMENT
and DETROIT BOARD OF
COMMISSIONERS,
     Defendants.




                 PLAINTIFF’S SHOW CAUSE
   REPLY BRIEF REGARDING FEDERAL DUE PROCESS CLAIMS




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I.       THE CITY HAS NEVER IDENTIFIED THE BASIS FOR
         RESCINDING OR TERMINATING THE CONTRACT AND ALL
         REASONS OFFERED NOW ARE STATEMENTS BY COUNSEL TO
         BACKSTOP THE PRIOR DECISIONS.
         The arguments made now by the City are beyond the scope of the show

cause order because the City has never specifically identified the basis for
                             1
rescinding B&T’s permit and has never before alleged an “emergency” or the

other reasons the City now relies on. Because the City never identified the basis

for termination (despite repeated requests), current offered reasons are mere

speculation by counsel to backstop its prior decisions after declining to respond to

B&T for months.


II.      THE CITY OF DETROIT INCORRECTLY CLAIMED FOR THE
         FIRST TIME THAT ITS RESPONSE WAS JUSTIFIED BY AN
         EMERGENCY.
                                        2
         In its Brief, for the first time, the City claims that its ongoing refusal to

provide B&T with a due process hearing was justified because of an “emergency.”




1
     The Board minutes state “Based upon the recommendation of Corporation
     Counsel (City of Detroit), the Board of Police Commissioners hereby rescinds
     the towing permits of Gasper Fiore, and Boulevard & Trumbull Towing, and its
     corporate affiliates.” The Board has never provided the basis for rescinding or a
     hearing to respond.
2
     B&T notes that the City removed this case based on the existence of federal
     jurisdiction over the due process claims. By removing this case to federal court,
     the City has waived any argument that a state law remedy bars the federal due
     process claim. “We accordingly join the Second and Fourth Circuits in holding
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As noted above, this argument is beyond the scope of the show cause order. Even

so none of the varying reasons for termination offered by counsel constitutes an

emergency.

         “Emergencies” arise when it is impracticable to have a pre-deprivation
                                                                         3
hearing. They commonly impact physical threats to public safety.             In Lowery v.

Faires, an emergency situation existed when cattle were starving and decomposing

on the owner's land and were breaking out to cause property damage presenting

“an extreme health hazard.” 57 F. Supp. 2d 483, 492-94 (E.D. Tenn.

1998), aff'd, 181 F.3d 102 (6th Cir. 1999). See also e.g. Flatford, supra, 17 F.3d at

167 (“Where the need to protect lives is the basis for such an intrusion, government

officials should not be made to hesitate in performing their duties, particularly

where post-deprivation remedies can immediately correct any errors in

judgment.”).

         The City does not cite a case with comparable facts in support of its claim

that there was an emergency in this case. Gasper Fiore was indicated on May 31,

2017 and the City did not take any action for two weeks and did not declare the



    that a defendant waives the exhaustion requirement by removing to federal
    court.” Lilly Investments v. City of Rochester, 674 Fed.Appx. 523 (6th Cir. 2017).
3
    The cases cited by the City involve such physical threats: confiscating typewriters
     when typewriter parts were used to stab prison guards; or demolishing a home
     that threatened to fall into the street or another home. Dkt. 57, p. 10 of 21.

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permits “void ab initio” until another two months had passed. Even then, the City

violated its own procedures that specifically require a post-deprivation hearing as

soon as possible. “[O]fficials cannot deny citizens due process by falsely invoking

an emergency need for quick action.” DiLuzio v. Vill. of Yorkville, Ohio, 796 F.3d

604, 614 (6th Cir. 2015), citing Elsmere Park Club, L.P. v. Town of Elsmere, 542

F.3d 412, 418 (3d Cir. 2008) (“That is, we cannot apply so much deference as to

allow the government to avoid affording due process to citizens by arbitrarily

invoking emergency procedures.”). Emergencies require immediate action. See,

e.g., Flatford v. City of Monroe, 17 F.3d 162, 167, 168 (6th Cir. 1994) (“Protecting

citizens from an immediate risk of serious bodily harm falls squarely within those

‘extraordinary situations’..”); Grayden v. Rhodes, 345 F.3d 1225, 1237 (11th Cir.

2003)(“ the emergency evacuation of tenants from a dangerous and potentially life-

threatening structure qualifies as an extraordinary situation” that justifies

postponing the required hearing before an eviction until after the deprivation); S.

Commons Condo. Ass'n v. Charlie Arment Trucking, Inc., 775 F.3d 82, 86 (1st Cir.

2014)(“ By their nature, emergency situations require an immediate response.”).




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III.    THE CITY’S CHARACTERIZATION OF THE PERMIT AS A
        CONTRACT AS A SWORD TO DISAVOW ITS OBLIGATIONS IS
        NOT A GARDEN VARIETY CONTRACT ACTION AND B&T HAS
        ALSO ALLEGED NON-CONTRACTUAL DUE PROCESS CLAIMS.
        The City also exceeded the scope of the show cause order when it alleged

for the first time that exhaustion of state law remedies is required when the due

process arises out of an alleged breach of contract.

         In this case there is a dispute about what the nature of the property interest

possessed by B&T is. The City previously alleged that the permits are contracts in
                                        4
order to declare them void ab initio . Now, the City describes B&T’s case as

solely a breach of contract action to avoid due process review. B&T has alleged a
                                                                                            5
constitutionally protected property interest other than a contractual interest
                                            6
(relying on Sixth Circuit case law Lucas and Greg) and asserting damage to its



4
    In the past the City disagreed claiming that the permits were not contracts. Tab
      1(also marked as Plaintiff’s Exhibit P).
5
    The property interest arises out of B&T’s position on the tow rotation, the
    requirement that tow assignments be equitable and the procedures for
    termination.
6
    When analyzing a towing case, the Lucas court held that rules of “mutually
    explicit understanding” constitute a property interest and specifically noted that
    the plaintiff could have cited a contract to establish a due process claim: “In the
    instant case, however, Plaintiffs can point to no ordinance, contract or other
    “rules of mutually explicit understandings” that support their claim of
    entitlement to remain on the stand-by list. See Perry v. Sindermann, 408 U.S.
    593, 601, 92 S.Ct. 2694, 33 L.Ed.2d 570 (1972).” Lucas v. Monroe County, 203
    F.3d 964 at 978.

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reputation. The City also specifically acknowledges that contractually created

property interests can be the basis for a due process claim. The Sixth Circuit has

also stated “[m]ost, if not all, state-created contract rights [are] assuredly protected

by procedural due process….” Charles v. Baesler, 910 F.2d 1349 (6th Cir. 1990).
                 9
The two cases cited by the City (Kaminski and Ramsey) involved claims that
                                                                   10
contractual rights had been changed, not been terminated.               Ramsey distinguished

the interest in a pure benefit of employment from the right to employment to

emphasize that a state court action for damages sufficed in that case and called it a
                             11
simple breach of contract.

         This case is not a simple or garden variety contract case. This is a dispute

over an entitlement. This is a case that challenges state policies and procedures

7
    “[W]here a person's good name, reputation, honor or integrity is at stake because
      of what the government is doing to him, notice and an opportunity to be heard
      are essential.” Board of Regents v. Roth, 408 U.S. 564, 573 (1972).
8
     The City’s brief states: “[S]ome contractually created property interests are
     protected by a cause of action under section 1983…” Doc. 57, p. 14 of 21.
9
     Courts often refer to these types of contractual claims as “garden variety”
     contract claims.
10
     In Kaminski the defendant changed health care benefits to monthly stipends. In
     Ramsey, the municipality changed a sick day calculation.
11
     “Although Ramsey has been deprived of her accumulated sick leave days, her
      interest in the money she would receive for those days upon her retirement,
      while important to her, is not as important as her right to her employment of
      which she has not been deprived.” Ramsey v. Board of Educ., 844 F.2d 1268,
      1274 (6th Cir. 1988).

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used to deprive B&T of its entitlement. The City is attempting to use its policies

and procedures and the FRC as a sword to disavow and terminate legal obligations

that were repeatedly approved for years by the City’s executive and legislative

branches (including in a bankruptcy proceeding). To accomplish this goal, the

City’s legal department is taking a legal position that contradicts its prior positions.

The City has also refused to provide the required due process hearing, refused to

state the basis for the termination and blocked B&T from obtaining future work

even when B&T was the demonstrated low bidder on a contract. Tab 2 (also

marked as Plaintiff’s Exhibit V). These actions are not garden variety and are an

example of the type of action due process is designed to protect:

        “A civil rights action based on the deprivation of due process and a
        contract action to recover damages for a breach are independent
        remedies. The civil rights action based on deprivation of a property
        interest established by the contract seeks vindication for the arbitrary
                                                      12
        manner in which the contract was breached.”
        Consistent with Lucas and Greg, B&T has a due process claim for the

rescinding and termination of the Permit. B&T asks this Court to compel the City

to provide it that due process.




12
     Vail v. Bd. Of Educ., 706 F.2d 1435, 1448 (7th. Cir. 1983)(Eschbach, J.,
     concurring).

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IV.    THE CITY MISSTATES CASE LAW IN ITS BRIEF
       In its brief the City incorrectly cites Warren v. Haley for the proposition that

substantive due process claims can only proceed when state remedies are

inadequate. Dkt. 57, p. 18 of 21. In Warren, the Sixth Circuit held that a due

process claim based on random and unauthorized acts failed because of a state law

remedy. However, when the court analyzed the substantive due process claim

made by the plaintiff the court did not consider state law remedies:

       “Third, the doctrine of substantive due process-independent of the
       incorporation doctrine-has no application to the facts of this case. The
       case does not fall within any of the various theories of substantive due
       process elaborated by the Supreme Court. See Rochin v. California,
       342 U.S. 167 (1951); Roe v. Wade, 410 U.S. 113 (1973). The case
       must stand or fall as a procedural due process or just compensation
       case, and for the reasons outlined above and by the District Court
       below, there is no ground based on Kentucky's procedures to stand on
       here.”

Warren v. Haley, 815 F.2d 706, 707 (6th. Cir. 1987).


                                               BODMAN PLC

                                        By:/s/Joseph J. Shannon
                                            Joseph J. Shannon (P38041)
                                            6th Floor at Ford Field
                                            1901 St. Antoine Street
                                            Detroit, Michigan 48226
                                            (313) 259-7777
                                            jshannon@bodmanlaw.com
                                            Attorneys for B&T Corporation
Dated: January 8, 2018.




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                         CERTIFICATE OF SERVICE


      I hereby certify that I electronically filed the foregoing paper with the Clerk

of the Court using the ECF System and that such papers were served by the ECF

System upon the attorneys of record.



                                       /s/Joseph J. Shannon
                                       Joseph J. Shannon (P38041)
                                       jshannon@bodmanlaw.com

January 8, 2018




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